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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION
   DAYTONA GRAND, INC. d/b/a
   LOLLIPOP'S GENTLEMEN'S CLUB, a
   Florida corporation, MILES WEISS and
   JOHN DOE,

                               Plaintiffs,

   -vs-                                             Case No. 6:02-cv-1469-Orl-28KRS

   CITY OF DAYTONA BEACH, FLORIDA, a
   municipal corporation,

                        Defendant.
   _______________________________________

                              REPORT AND RECOMMENDATION

   TO THE UNITED STATES DISTRICT COURT

          This cause came on for consideration without oral argument on the following motion

   filed herein:

              MOTION:      MOTION FOR ATTORNEY’S FEE AWARD PURSUANT
                           TO 42 U.S.C. SECTION 1988 (Doc. No. 176)

              FILED:       February 3, 2006

          Because the final judgment in this case is currently on appeal to the United States

   Court of Appeals for the Eleventh Circuit, see doc. nos. 192, 193, it is appropriate to await

   the outcome of the appeal before ruling on the pending motion for attorneys’ fees.

   Determination of the appeal, regardless of the outcome, will affect consideration of the

   Plaintiffs’ motion. It does not appear that consideration of the appeal itself would be better

   informed by a decision on fees.
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          Accordingly, I recommend that the motion for award of attorneys’ fees be DENIED

   without prejudice to refiling, if appropriate, within twenty days after the issuance of a

   decision on the appeal by the United States Court of Appeals for the Eleventh Circuit.

          Failure to file written objections to the proposed findings and recommendations

   contained in this report within ten (10) days from the date of its filing shall bar an aggrieved

   party from attacking the factual findings on appeal.

          Recommended in Orlando, Florida on April 25, 2006.

                                                                Karla R. Spaulding
                                                             KARLA R. SPAULDING
                                                       UNITED STATES MAGISTRATE JUDGE


   Copies furnished to:

   Presiding District Judge
   Counsel of Record
   Unrepresented Party
   Courtroom Deputy




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